
The Supreme Court affirmed the decree of the Court below on May 5, 1879, in the following opinion:
Per Curiam.
We think the appellants had a full and adequate remedy at law, which was a sufficient reason for the dismissal of the bill by the Court below. The report of the learned master and examiner very succinctly and clearly states this reason, and supports it by a recurrence to authority, whenever a person or corporation, bound to repair a public highway, refuses to do so, when necessary, on notice from the proper officers, they may make the necessary repairs and recover the expense thereof in an action of assumpsit; Penna. R. R. Co. vs. Duquesne Borough, 10 Wr., 228.
Decree affirmed and appeal dismissed at the costs of the appellants.
